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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS


ANALOG DEVICES, INC. and HITTITE
MICROWAVE LLC,
     Plaintiffs,

              v.                                 C.A. No. 1:18-cv-11028-GAO

MACOM TECHNOLOGY SOLUTIONS
HOLDINGS, INC. and MACOM
TECHNOLOGY SOLUTIONS INC.,
     Defendants.


                      CORPORATE DISCLOSURE STATEMENT

       Pursuant to Rule 7.1(a) of the Federal Rules of Civil Procedure, Defendant MACOM

Technology Solutions Inc. states that it is a wholly-owned subsidiary of Defendant MACOM

Technology Solutions Holdings, Inc.

                                          MACOM TECHNOLOGY SOLUTIONS INC.,

                                          By its attorneys,

                                          /s/ C. Max Perlman
                                          C. Max Perlman (BBO No. 630395)
                                              max@hrwlawyers.com
                                          Tobias W. Crawford (BBO No. 678621)
                                              tcrawford@hrwlawyers.com
                                          HIRSCH ROBERTS WEINSTEIN LLP
                                          24 Federal Street, 12th Floor
                                          Boston, Massachusetts 02110
                                           (617) 348-4300

                                          Amanda Tessar
                                             atessar@perkinscoie.com
                                          PERKINS COIE LLP
                                          1900 Sixteenth Street, Suite 1400
                                          Denver, Colorado 80202-5255
                                          (303) 291-2300
                                          Pro Hac Admission Pending
         Case 1:18-cv-11028-GAO Document 15 Filed 06/07/18 Page 2 of 2




                                              Judith B. Jennison
                                                 JJennison@perkinscoie.com
                                              PERKINS COIE LLP
                                              1201 Third Avenue, Suite 4900
                                              Seattle, Washington 98101-3099
                                              (206) 359-8000
                                              Pro Hac Admission Pending

                                              Sarah E. Stahnke
                                                 SStahnke@perkinscoie.com
                                              PERKINS COIE LLP
                                              3150 Porter Drive
                                              Palo Alto, California 94304-1212
                                              (650) 838-4300
                                              Pro Hac Admission Pending

Dated: June 7, 2018

                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing and
paper copies will be sent to those indicated as non-registered participants on June 7, 2018

                                              /s/ C. Max Perlman
                                              C. Max Perlman




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